IN THE UNITED STATES DISTRICT COURT

FOR THE MIDDLE DISTRICT OF FLORIDA 2029 JUL

FORT MYERS DIVISION

UNITED STATES OF AMERICA, and
THE STATE OF FLORIDA, ex rel,
MARGARET PETERS, R.N.,

Plaintiffs,
VS. Case: 2:16-cv-6-FtM-99MRM

HOPE HOSPICE AND COMMUNITY
SERVICES, INC., f/k/a HOPE OF

SOUTHWEST FLORIDA, INC., f/k/aH.O.P.E. | FILED INCAMERA
OF LEE COUNTY, INC., d/b/a HOPE AND UNDER SEAL
HEALTHCARE SERVICES; VISITING

NURSES ASSOCIATION OF SOUTHWEST

FLORIDA, INC.; FLORIDA PACE

ASSOCIATION, INC.; HOPE MEMORIAL

CARE, INC.; and SAMIRA BECK WITH,

Defendants.
a f
UNITED STATES OF AMERICA'S NOTICE OF INTERVENTION FOR THE
PURPOSE OF THE SETTLEMENT OF CLAIMS AGAINST CERTAIN
DEFENDANTS, AND DECLINATION AS TO CERTAIN DEFENDANTS

Pursuant to the False Claims Act, 31 U.S.C. §§ 3730(b)(4) and Middle
District of Florida Local Rule 3.08(a), the United States notifies the Court of its
decision to intervene in this action for the purpose of settlement against certain
named defendants, and decline intervention as to the remaining defendants.

The United States intervenes against defendant Hope Hospice and
Community Services, Inc. d/b/a Hope Hospice (“Hope Hospice”) with respect to
the Covered Conduct defined in the Settlement Agreement entered into between,
amongst others, Defendant Hope Hospice; Relator Margaret Peters; and the United

States on July 2, 2020.

Jy

Case 2:16-cv-00006-SPC-MRM Document 53 Filed 07/06/20 Page 1 of 4 PagelD 198

Zo
Case 2:16-cv-00006-SPC-MRM Document 53 Filed 07/06/20 Page 2 of 4 PagelD 199

With respect to the defendants Visiting Nurses Association of Southwest
Florida, Inc.; Florida Pace Association, Inc.; Hope Memorial Care, Inc.; and Samira
Beckwith, the United States notifies the Court of its decision to decline to intervene
in this action. Based on the Settlement Agreement, the United States anticipates that
Relator will dismiss its claims against the remaining Defendants and hereby consents
to the dismissal so long as it is without prejudice to the United States.

In addition, the United States requests that the following documents be
unsealed: (1) the United States’ Notice of Intervention and Declination; (2) the
Relator’s Complaint; and (3) the attached Order unsealing these documents.
However, with respect to Relator’s Complaint, the United States requests that the
address of Samira Beckwith contained in paragraph 13 on page 5 of the Complaint
be redacted. A copy of the Complaint with the requested redactions is hereby

attached as Exhibit A.
Case 2:16-cv-00006-SPC-MRM Document 53 Filed 07/06/20 Page 3 of 4 PagelD 200

Finally, the United States requests that all other papers on file in this action
remain under seal because in discussing the content and extent of the United States'
investigation, such papers are provided by law to the Court alone for the sole purpose
of evaluating whether the seal and time for making an election to intervene should be

extended.

Respectfully Submitted,

MARIA CHAPA LOPEZ
United States Attorney

By: /s/ Kyle S. Cohen
KYLE S. COHEN
Assistant United States Attorney
Florida Bar No. 0829951
2110 First Street, Suite 3-137
Ft. Myers, Florida 33901
Telephone No. (239) 461-2200
Facsimile No. (239) 461-2219

Email: Kyle.Cohen@usdoj.gov

Case 2:16-cv-00006-SPC-MRM Document 53 Filed 07/06/20 Page 4 of 4 PageID 201

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on July 6, 2020, a true and correct copy of the
foregoing Notice of Intervention and Declination was sent by email to the following

parties:

Mark Schlein
MSchlein@BaumHedlundLaw.com

s/ Kyle S. Cohen
KYLE S. COHEN
Assistant United States Attorney

